Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 1 of 65 PageID #: 6
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 2 of 65 PageID #: 7
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 3 of 65 PageID #: 8
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 4 of 65 PageID #: 9
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 5 of 65 PageID #: 10
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 6 of 65 PageID #: 11
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 7 of 65 PageID #: 12
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 8 of 65 PageID #: 13
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 9 of 65 PageID #: 14
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 10 of 65 PageID #: 15
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 11 of 65 PageID #: 16
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 12 of 65 PageID #: 17
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 13 of 65 PageID #: 18
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 14 of 65 PageID #: 19
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 15 of 65 PageID #: 20
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 16 of 65 PageID #: 21
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 17 of 65 PageID #: 22
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 18 of 65 PageID #: 23
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 19 of 65 PageID #: 24
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 20 of 65 PageID #: 25
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 21 of 65 PageID #: 26
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 22 of 65 PageID #: 27
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 23 of 65 PageID #: 28
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 24 of 65 PageID #: 29
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 25 of 65 PageID #: 30
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 26 of 65 PageID #: 31
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 27 of 65 PageID #: 32
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 28 of 65 PageID #: 33
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 29 of 65 PageID #: 34
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 30 of 65 PageID #: 35
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 31 of 65 PageID #: 36
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 32 of 65 PageID #: 37
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 33 of 65 PageID #: 38
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 34 of 65 PageID #: 39
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 35 of 65 PageID #: 40
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 36 of 65 PageID #: 41
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 37 of 65 PageID #: 42
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 38 of 65 PageID #: 43
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 39 of 65 PageID #: 44
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 40 of 65 PageID #: 45
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 41 of 65 PageID #: 46
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 42 of 65 PageID #: 47
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Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 44 of 65 PageID #: 49
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 45 of 65 PageID #: 50
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 46 of 65 PageID #: 51
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 47 of 65 PageID #: 52
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 48 of 65 PageID #: 53
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 49 of 65 PageID #: 54
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 50 of 65 PageID #: 55
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 51 of 65 PageID #: 56
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 52 of 65 PageID #: 57
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 53 of 65 PageID #: 58
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 54 of 65 PageID #: 59
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 55 of 65 PageID #: 60
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 56 of 65 PageID #: 61
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Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 59 of 65 PageID #: 64
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 60 of 65 PageID #: 65
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 61 of 65 PageID #: 66
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 62 of 65 PageID #: 67
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Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 64 of 65 PageID #: 69
Case: 4:14-cv-01305-RWS Doc. #: 1-1 Filed: 07/24/14 Page: 65 of 65 PageID #: 70




                           IN THE CIRCUIT COURT OF ST. LOUIS COUNTY                             RECEIVED & FILED
                                       STATE OF MISSOURI                                        CIRCUIT COURT OF
                                                                                                 ST. LOUIS COUNTY

LEVEL ONE TECHNOLOGIES, INC.,
                                                                                                10111 JUL 1 y P   25
                         Plaintiff,                      Case No.:    14SL-CCO2101
v.                                                       Division No. 19
                                                                                                JOAN M. GILMER
PENSKE TRUCK LEASING CO., L.P.,                                                                  CIRCUIT CLERK
et al.,
               Defendants


                                         RETURN OF SERVICE

           COMES NOW Plaintiff Level One Technologies, Inc., and files herewith the Acceptance of

Service executed on behalf of the Defendants herein.

                                                RIEZMAN BERGER, P.C.




                                                Charles S. Kramer #34416 (Le           unsel)
                                                Joseph D. Schneider #57484
                                                7700 Bonhomme, 7 th Floor
                                                St. Louis, Missouri 63105
                                                (314) 727-0101
                                                (314) 727-6458 (fax)
                                                kr gaLet@"eztgerom
                                                schneider@riezmanberger.com



                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing instrument was mailed via first class mail on this
day of July, 2014, addressed to:

         Mr. Douglas Y. Christian
         Ballard Spahr LLP
         1735 Market Street, 51' Floor
         Philadelphia, PA 19103 7599
                                  -




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